Case 2:09-md-02047-EEF-MBN Document 22470-3 Filed 01/14/20 Page 1 of 8




                    Exhibit C
    Case 2:09-md-02047-EEF-MBN Document 22470-3 Filed 01/14/20 Page 2 of 8


            $upplemental Plaintiff Profile Form - Residential and Commercial Properties



                                                                                                    For Internal Use Only
                                                                                                   File No.


                                                                                                         Date Received



                                          I.INITED STATES DISTRICT COURT

                                         EASTERN DISTRICT OF LOUISIANA

  In re: Chinese Manufactured Drywall                                                  MDL NO. 2047
  Products Liabilify Litigation                                                        SECTION: L
                                                                                       ruDGE FALLON
  This Document Relates to                                                             MAG. ruDGE WILKINSON


Elizabeth Benneu v. Gebrueder Knauf Verwaltungsgesellschaft, KG, et al., Civil Action No.: 14-cv-2722-EEF-JCW (E.D.La)




             This Supplemental Plaintiff Profile Form must be completed and signed by every person making a claim in
  this litigation against the manufacturer of Chinese Drywall, Knauf Plasterboard Tianjin , using one form per
  Property. In completing this Supplemental Profile Form, you are under oath and must provide all information within
  your knowledge, custody and control that is true and correct to the best of your knowledge, If you have already
  submitted a Plaintiff Profile Form, this Supplemental Plaintiff Profile Form will be in addition to and supplement the
  prior Profile Form submitted. You have an affirmative obligation to searoh for all documents, electronically stored
  information, and tangible things responsive to this questionnaire. You may and should consult with your attomey if
  you have any questions regarding completion of this form. Ifyou are completing the form for someone who has died
  or who cannot complete the Profile Form, please answer as completely as you can for that person.

           The responses contained within this Supplemental Plaintiff Profile Form are made without waiving any rights
  or objections as to relevance or privilege and are made without any abrogation oflegal defenses, including those of
  the Collateral Source Doctrine.

            The questions and requests for production contained within this Supplemental Profile Form are non-
   objectionable and shall be answered without objection. By answering this Supplemental Profile Form, you are not
   waiving the attorney work product and/or attorney client privileges. Similarly, by disclosing the identity of consultants,
   such consultants may remain non-testi$ing experts if provided for by applicable law, and are subject to all protections
   afforded by law. Failure to fully complete this Supplemental Profile Form and provide the appropriate documents
   may result in a motion filed against you pursuant to Rule 37 of the Federal Rules of Civil Procedure, which could
   include a request for dismissal of the action in whole or in part.

            All photographs produced in response to this form shall be in color.




  Secfion l. Claimant and Proper$ lnformation

   Name of Claima         Daniel                                  F
                                                                  M.l    Lasl Name

                         Shona                                    R      Blonsky
                         Co-Claimant First Namo (if applicable)   M.l.   Last Name              Sutlix



                         Business/Entity Name (if applicable)

                                                                          L
 Case 2:09-md-02047-EEF-MBN Document 22470-3 Filed 01/14/20 Page 3 of 8


         Supplemental Plaintiff Profile Form - Residential and Commercial Properties


Address of Property in this Lawsuit ("Property")
                              8220 SW 60 Court
                             Aooress I                                                     Address z

                              South Miami                                  FL              33143
                             urty                                          Stat€           zip code


ls the Property residential or commerci2lr Residential

Name of Person
Completing this Form          Daniel                  F    Blonsky

Mailing Address (if different)


                            Aooress l                                                      Address z


                             City                                          Stat6           Zip Code

Phone Number of Person Completing This Form: ( 305 t 753          _ 8587



Section ll. Purchase, Sale and/or Transfer of Ownership of a Property and Assignments of Claims

When did you acquire the Property? Month/DayNear: 1             I 20            2009

When was Chinese drywall installed in the Property (to the best of your knowledge)?
Month/DayA/ear:      ??             ??       2008

When you acquired the Property, were you aware that it contained Chinese drywall? f] Yes E ruo

lf you were not aware, at the time you acquired the Property, that the Property contained Chinese drywall,
when did you first become aware that the Property contained Chinese drywall?
Monthl/ear: 2               2014

lf you believe Chinese drywall was installed after you acquired the Property, when and how did you first
become aware that the           contained Chinese         t?




lf you acquired the Property knowing that the Property contained Chinese drywall, have you expressly
acquired an assignment or other personal right of action that allows you to pursue a claim for damages?
  flYes E tto
lf Yes, attach a copy of the document assigning any right or claim to you.

lf Yes, did you acquire the assignment with the purchase of the Property or at some later time?



Have you sold or transferred ownership of the Property since you acquired it?          n Ye" E No
lf No, go to Section lll.

lf Yes, on what date did you sell or transfer ownership of the Property?

Month/Dayl/ear: I                        I

                                                      2
Case 2:09-md-02047-EEF-MBN Document 22470-3 Filed 01/14/20 Page 4 of 8


         Supplemental Plaintiff Profile Form - Residential and Commercial Propedies


lf you have sold or transferred ownership of the Property, did you at the time of sale assign to anyone any
right of action for damages relating to the Property?     Ves ruo
                                                           E      n
lf you have sold or transferred ownership of thgproperty, did you expressly retain a personal right of action
to allow you to pursue damages?      [l Yes ruo  U
lf you answered Yes to either of the two prior questions, attach a copy of any documents relating to your
sale or transfer of ownership of the Property and to the assignment of a right of action for damages.


Secfion lll. Product ldentification and Evidence Retention

Did you provide evidence of Chinese dryWell in theProperty to the Plaintiffs' Steering Committee to be
placed in the PSC FileCloud Database? 14 Yes lJ No

lf Yes, do you have any additional evidence of Chinese $rwall in the Property that you have not
provided to the Plaintiffs' Steering Committee? Ll Yes lll tlo

lf No, go to Section lV. lf Yes, attach all additional evidence of Chinese drywall in the Property that
you have not already provided to the Plaintiffs'Steering Committee.


Secfion IV. Bankruptcy, Foreclosure or Shoft SaIe

Do you contend that you enteqqd perso4gl bankruptcy as a result of damage to your Property from
defective Chinese Dn/wall? ll Yes lll ttto

lf Yes, answer the following questions:

lf you entered personal bankruptcy, identify the case number and docket information of the filing.

Court filed in:

Date of filing:
                                          Year

Docket No.:

Present Status:

Attach your bankruptcy petition and documents flled therewith, including (1) the schedule of assets and
liabilities; (2) the schedule of income and expenditures; (3) the statement of financial affairs; (4) the
schedule of executory contracts and unexpired leases; (5) the list of creditors and amount and nature of
claims; (6) the source, amount, and frequency of the debtor's income; (7) the list of all the debtor's
property; and (8) the detailed list of the debtor's monthly living expenses.

Do you contend that a foreclosure or short sale occurred as a result of damage to your Property from
defective Chinese Drywall?     ! ves E     ruo

lf Yes, answer the following questions:

lf the Property was the subject of a foreclosure or short sale, identify the following

Foreclosure or Short Sale?




                                                       3
 Case 2:09-md-02047-EEF-MBN Document 22470-3 Filed 01/14/20 Page 5 of 8


        Supplemental Plaintiff Profile Form - Residential and Commercial Properties




Lender's name:

Loan Number:

Original Loan/Mortgage Amount:                 $

Date of Original Loan/Mortgage:
                                                                        Year

At the Date of Foreclosure or Short Sale,
the amount owed on the Loan/Mortgage:

Date of Foreclosure or Short Sale:
                                                                        Year

Short Sale Price (if applicable)               $

Attach all loan/mortgage documentation and documentation pertaining to the acquisition of the property.

Attach all documents relating to any foreclosure or short sale, including but not limited to any financial
statements provided to the lender, a seller's hardship letter, tax returns, W-2 forms, payroll stubs, and
bank statements provided to the lender, and comparative market analyses of comparable sales provided
to the lender.


Secfion V. Already Remediated Property

Has the Property been partially or completely remediated? Completed remediated

lf completely or partially remediated, answer the following questions. lf No, go to Section Vl

Please identify the dates during which the remediation took place:
May 2014 through August 2014

Please identify who performed the work to remediate the property (for example: self, name of contractor,
name of remediation service): Certified Mold Free Corp

lf the Property has been partially remediated, identify the rooms of the Property that were remediated, the
current condition and status of the remediation and the amount of work remaining to be
remediated:




Attach any documents supporting any work that you or others performed for remediation of the
Property.

lf the Property has been partially or completely remediated, what was the total cost to date for the
remediation of the Property?
$ 37 650

Attach all invoices and documents to support the total cost of remediation to date


                                                     4
Case 2:09-md-02047-EEF-MBN Document 22470-3 Filed 01/14/20 Page 6 of 8


        Supplemental Plaintiff Profile Form * Residential and Commercial Properties


Attach all invoices, purchase receipts and documents supporting the total cost or value of any
appliances, fixtures or other electronics that you claim were damaged by Chinese drywall.

Attach all invoices, purchase receipts and documents supporting the total cost or value of any other
movables (property or possessions, not including land or buildings) that you claim were damaged by
Chinese drywall.

lf the Property has been completely remediated, what was the date the remediation was completed?
Month/Year: 8         | 2014
Have you preserved at least two samples (of ten inches by ten inches ( 10' x 10") in size if oossible) of
every different drywall brand or marking removed from the Property? m Yes           ll tlo

lf you have preserved samples, where are the samples located?
Garage at the property

Have you preserved at least one sample of each type of drywall e4g!!ape, if any that was found during
inspection, repair or removal of drywall in or from the Property?   ll
                                                                     Yes lA No
lf you have preserved samples, where are the samples located?



Have you photographed the backside of each Chinese-manufactured drywall board removed from the
Property immediately after it was removed, and have you documented on a floor plan or other similar
diagram the location of each full or partial Chinese-manufactured drywall board and its photograph?
  E]Yes f] tto
lf you have photographed and documented each Chinese-manufactured board, please attach the
photograph(s) and floor plan.

Have you photographed the HVAC coil, at least one (1) plumbing component and three (3) electrical
components thai you allege were damaged by Chinese drywall?          E yes n
                                                                          ruo

lf you have photographed these materials, please attach the photographs.

Have you photographed any other bgllding materials, components, or other personal property for
which you intend to seek recovery? E Yes         n llo
lf you have photographed these materials, please attach the photographs.



Section Vl. Prior Payments

Have you received any payments, including but not limited to settlement payments, payments from
homebuilders, and insurance payments, related to damages you claim to have suffered caused by
defective Chinese drywall in the Property or related to any other harm caused by defective Chinese
dnywall? EYes lruo

lf Yes, identify the source(s) and state the amount of payment(s) you received?

Source: American Strategic nsurance
                                I




Amount of payments received: g Subject to confidentiality agreq




                                                      5
 Case 2:09-md-02047-EEF-MBN Document 22470-3 Filed 01/14/20 Page 7 of 8


          Supplemental Plaintiff Profile Form - Residential and Commercial Propedies


Source:

Amount of payments received: $

Source:

Amount of payments received: $

lf you received payments from the Knauf settlement, state the percentage of the Chinese Drywall that
was identified as "KPT Chinese Drywall" as described in section 1.27 of the Knauf Settlement
Agreement:                        %

Attach documents reflecting the total amount you received from the source(s).


Section Vll. Other Damages

lf you incurred alternative living expenses as a result of Chinese Drywall, identify the total moving cost
and/or alternative living expense you incurred.
c7 ,000

Attach all receipts and documents supporting the total moving cost and/or alternative living expense
you incurred.

lf you experienced any loss of use and/or loss of enjoyment of the Property as a result of Chinese
Drywall, identify the total amount of such loss.
  125,000

Attach all documentation to support the total amount claimed for the loss.

lf you claim a diminution in value of the Property as a result of Chinese Drywall, identify the total
amount of such diminution of value being claimed.



Attach all documentation to support the total amount claimed for diminution of value, including
documents showing that the Property's previous value.


Secfion VIll. "Under Air" Square Footage

Has the under air square footage of the Property changed at any time since installation of the Chinese
drywall? ! Yes
                     'E ruo
lf the square footage has changed, please identify the date(s) and change(s) to under air square
footage, and attach all documentation that relates to each change:

Date:

Change

Date:

Change



                                                      6
 Case 2:09-md-02047-EEF-MBN Document 22470-3 Filed 01/14/20 Page 8 of 8


         Supplemental Plaintiff Profile Form - Residential and Commercial Properties


Date

Change


Section lX. Verification of Supplemental Plaintiff Profile Form

I declare under penalty of perjury under the laws of the United States of America and pursuant to 28
U.S.C. S 1746 that I am the claimant identified in this Supplemental Plaintiff Profile Form and that all
information provided in this Supplemental Plaintiff Profile Form is true and correct to the best of my
knowledge, and that I have supplied all of the documents requested in this declaration to the extent
that such documents are in my possession, custody or control.

I further declare under penalty of perjury under the            of the United States of America and pursuant to
28 U.S.C. S 1746 that all                previously             ded by me in my original Plaintiff Profile Form
continues to be true and co rrect     has     nu            to the best of my knowledge


                                                                                 March 21, 2018
Claimant's signature                                                            Date signed

Name: DanielBlonsky
Address: 8220 SW 60 Court
                                                    Address 2

              South Miami                      FL               33143


Phone 1,,1e.' (305 ) 753 - 8587

Email:       dblonsky@coffeyburlington.com




                                                       7
